 

 

Case 1:18-cr-00170-KB.] Document 11 Filed 06/12/18 Page 1 of 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF COLUMBIA
UNITED STATES OF Al\/IERICA,
Plaintiff,
v. Cr No. 18-170 (KBJ)
JAl\/IES A. WOLFE, F I L E D
D€f@“dam~ JuN if 2018

 

 

C|ark. U.S. Dlstrict & Bankruptcy

Courts for the D|strlct of Columb|a `

ORDER
Upon consideration of Defendant J ames A. Wolfe’s Unopposed Motion to Continue
lnitial Appearance, it is hereby ORDERED that:
l. l\/Ir. Woll`e’s Motion is GRANTED; and,
2. l\/Ir. Wolfe’s lniti?aéAppearance shall now occur before Magistrate Judge Deborah A.
Robinson atjé.'O/p.rn. on Wednesday, June 13, 2018; and,
3. l\/Ir. Woll`e’s conditions of release, set on June 8, 2018, by l\/Iagistrate Judge J. l\/Iark

Coulson, in the District of l\/Iaryland, will remain in effect pending that appearancel

SO ORDERED.

June 12, 2018 % %/
; \Lw\
M

Robin l\/I. l\/leriweather /
United States Magistrate udge

 

